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6
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8                        UNITED STATES DISTRICT COURT
9                     NORTHERN DISTRICT OF CALIFORNIA
10   CHRISTINA MCCLELLAN and BILLY Case No.:
     MOSES, individually and on behalf of all
11   others similarly situated,               CLASS ACTION COMPLAINT FOR:
12               Plaintiffs,                   1. VIOLATION OF THE
                                                  FRAUDULENT, UNLAWFUL,
13         v.                                     AND UNFAIR PRONGS OF THE
                                                  UCL;
14   TWITTER, INC.,
                                               2. BREACH OF EXPRESS
15               Defendant.                       CONTRACT; AND
16                                             3. UNJUST ENRICHMENT.
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18                                             DEMAND FOR JURY TRIAL

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1          Plaintiffs Christina McClellan and Billy Moses (“Plaintiff”), individually
2    and on behalf of themselves and all other persons similarly situated, bring this
3    Class Action Complaint against Twitter (“Twitter” or “Defendant”), and allege,
4    upon personal knowledge as to their own actions and their counsel’s investigation,
5    and upon information and belief as to all other matters, as follows:
6          1.     This action arises out of Defendant’s misrepresentations and
7    omissions to consumers regarding the purpose for which it collected and used
8    consumers’ email addresses and/or telephone numbers (“Personal Information”).
9    At least between May 2013 and September 2019 Defendant induced consumers to
10   provide their email addresses and telephone numbers under the false pretext of
11   ensuring secure access to their accounts and for recovering those accounts.
12   However, without the knowledge or consent of those who provided their email
13   addresses and/or phone numbers, Twitter used that information for its own
14   pecuniary gain by providing it to advertisers.
15         2.     In a complaint filed on May 25, 2022, the U.S. Department of Justice
16   alleged that Twitter violated the Federal Trade Commissions Act and an order
17   issued by the U.S. FTC in 2011 (the “2011 Order”) relating to deceiving users
18   about this very conduct—namely, the extent to which Twitter maintained and
19   protected the security and privacy of users’ nonpublic contact information. Twitter
20   has agreed to settle the complaint for $150 million.
21         3.     The 2011 Order required that Twitter “directly or through any
22   corporation, subsidiary, division, website, or other device, …, shall not
23   misrepresent in any manner, expressly or by implication, the extent to which
24   [Twitter] maintains and protects the security, privacy, confidentiality, or integrity
25   of any nonpublic consumer information.” The 2011 Order defined “Nonpublic
26   consumer information” as “nonpublic, individually-identifiable information from
27   or about an individual consumer, including, but not limited to, an individual
28   consumer’s: (a) email address; (b) Internet Protocol (“IP”) address or other

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1    persistent identifier; …”.
2          4.     Twitter represented to its users that the Personal Information they
3    entrusted to it would remain confidential and would only be used for security
4    purposes. Twitter never disclosed to its users that their Personal Information was
5    being collected for any reason other than the stated purpose of verifying user login
6    information or allowing users to recover their accounts. All of the representations
7    that Twitter presented to users concerning the purpose for which it demanded their
8    email addresses and phone numbers were in the context of and concerned account
9    security.
10         5.     Twitter’s misrepresentations and omissions regarding the purpose for
11   which it collected email addresses and telephone numbers were material to
12   consumers because reasonable consumers do not share this information with
13   strangers. This is particularly so where the information will be used to target them
14   with advertisements or solicitations or deanonymize their online identities. As a
15   result of Twitter’s deceptive practices, consumers surrendered valuable Personal
16   Information that they expected to remain private and to be used only for security
17   purposes. Consequently, consumers were deprived of the ability to control how this
18   information is used and who possesses it.
19                                    JURISDICTION
20         1.     This Court has subject matter jurisdiction over this action pursuant to
21   28 U.S.C. § 1332(d) because this is a class action wherein the amount in
22   controversy exceeds the sum or value of $5,000,000 exclusive of interest and costs,
23   there are more than 100 members in the proposed class, and at least one member of
24   the class is a citizen of a state different from Defendant. Moreover, this Court has
25   subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)(1)
26   because Plaintiff McClellan is a Texas citizen and is therefore diverse from
27   Defendant, who is a citizen of California and Delaware.
28         2.     This Court has personal jurisdiction over Defendant because

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1    Defendant maintains its principal place of business in this District at 1355 Market
2    St. in San Francisco, California and has systematic and continuous contacts with
3    the State of California and avails itself of the laws of California.
4                                            VENUE
5              3.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because
6    Defendant resides within this District and because a substantial part of the events
7    giving rise to the claims alleged herein occurred within this District. Moreover,
8    Defendant’s Terms of Service require that all disputes be heard in the state or
9    federal courts located in San Francisco County.
10                                          PARTIES
11             4.   Plaintiff Christina McClellan is and at all times relevant hereto was a
12   citizen and resident of the state of Texas. Plaintiff McClellan has been a Twitter
13   user since October 2018 and she provided her phone number to Twitter for the
14   purpose of login verification and account recovery in or about that time.
15             5.   When Plaintiff McClellan provided her phone number to Twitter she
16   did so based on Twitter’s admonitions to secure her account and with the
17   understanding that Twitter would use the information exclusively for that purpose.
18   Plaintiff read and relied on Twitter’s representations concerning account security,
19   two factor authentication (“2FA”), and account recovery and based on the
20   information therein provided her telephone number strictly for that purpose.
21             6.   Had Plaintiff McClellan been aware that Twitter would allow
22   advertisers to use that information to direct advertisements at her, she either would
23   not have provided her telephone number or would not have used Twitter’s services
24   at all.
25             7.   To this day Plaintiff McClellan does not know which advertisers were
26   provided access to her telephone number, how it was used, and whether it is still
27   available for marketing purposes. Plaintiff McClellan wishes to continue to use
28   Twitter’s services in the future but she is unable to rely on Twitter’s

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1    representations concerning the use of her phone number in part because of the
2    deceptive practices alleged herein.
3           8.     Plaintiff Billy Moses is and at all times relevant hereto was a citizen
4    and resident of the state of California. Plaintiff Moses has been a Twitter user since
5    approximately 2009 and he provided his phone number and email address to
6    Twitter for the purpose of login verification and account recovery in or about 2018.
7           9.     When Plaintiff Moses provided his phone number to Twitter he did so
8    based on Twitter’s admonitions to secure his account and with the understanding
9    that Twitter would use the information exclusively for that purpose. Plaintiff
10   Moses read and relied on Twitter’s representations concerning account security,
11   2FA, and account recovery and based on the information therein provided his
12   telephone number and email address strictly for that purpose.
13          10.    Had Plaintiff Moses been aware that Twitter would allow advertisers
14   to use that information to direct advertisements at him, he either would not have
15   provided his telephone number and email address or would not have used Twitter’s
16   services at all.
17          11.    To this day Plaintiff Moses does not know which advertisers were
18   provided access to his telephone number and email address, how it was used, and
19   whether it is still available for marketing purposes. Plaintiff Moses wishes to
20   continue to use Twitter’s services in the future but he is unable to rely on Twitter’s
21   representations concerning the use of his phone number and email address in part
22   because of the deceptive practices alleged herein.
23          12.    Defendant Twitter, Inc. is a corporation organized and existing under
24   the laws of the state of Delaware, with its principal place of business at 1335
25   Market St., San Francisco, California.
26                              NATURE OF THE ACTION
27          13.    Twitter operates a social media and online communication platform
28   and is one the largest and most popular social media companies worldwide. The

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1    platform allows registered users to broadcast short messages, known as “tweets”
2    with which other users may interact by replying to the message or promoting it to
3    other users by “liking” or “retweeting” the message.
4              14.    To access the social media platform users must create a Twitter
5    account. When Twitter users access the platform, a “timeline” is displayed to them
6    by Twitter. The timeline presents a series of tweets from accounts the user chooses
7    to follow, from advertisers targeting the user, or other tweets promoted or trending
8    on the platform. The timeline also displays a search engine, recommendations for
9    additional accounts to follow, and a list of trending topics. Twitter users also have
10   a profile page where they can describe themselves, choose a profile picture, or
11   view their own tweets and retweets.
12             15.    As of September 2019, Twitter had more than 330 million monthly
13   active users and approximately 126 million daily active users worldwide.
14             16.    Twitter has historically failed to produce a profit for every year it
15   reported earnings except for 2018 and 2019. 1 Twitter’s annual operating costs in
16   2019 amounted to $3.1 billion while its revenue was slightly higher at $3.46
17   billion. 2
18             17.    Twitter provides its social media and communication platform to its
19   hundreds of millions of users by monetizing the personally identifiable information
20   that it collects from those users. Notably, Twitter does not charge users a monetary
21   fee to create an account and engage with the platform. Instead, Twitter extracts
22   value from the private information of its users that it collects and then sells to
23   advertisers. Essentially, the cost of using Twitter to a consumer is that they must
24   surrender exclusive control over information that they otherwise would not
25   voluntarily provide. Put another way, in consideration for providing services,
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     1
         https://www.barrons.com/news/can-twitter-become-more-profitable-under-elon-musk-01650998108
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     2
      Twitter Q4 2019 Letter to Shareholders:
28   https://static.seekingalpha.com/uploads/sa_presentations/382/51382/original.pdf

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1    Twitter obtains valuable personal data from its users. That there is a cash value to
2    the information Twitter users provide and that it can be quantified is evident from
3    the fact that Twitter’s revenue is almost exclusively derived from providing its
4    user’s information to advertisers. Indeed, Twitter evens promotes the number of
5    “monetizable” users on its platform to advertisers as an inducement to do business
6    with it. 3
7             18.    Today, Twitter derives roughly 89%, or $4.5 billion of its $5.1 billion
8    revenue through advertising efforts. In 2019, $2.9 billion of the $3.4 billion in
9    revenue that Twitter earned flowed from advertising. The remainder of Twitter’s
10   revenue primarily comes from licensing its data to companies which allows
11   businesses to better understand consumer sentiment towards particular brands or
12   anticipate trends in consumer spending or demand. 4 This data is derived from
13   monitoring how users interact with the platform and what topics of conversation
14   are trending. Accordingly, Twitter’s economic viability depends entirely on its
15   ability to provide consumer data and consumer attention and interactions to
16   advertisers.
17            19.    To use Twitter’s platform, consumers agree to give up things of
18   material value: personal data and attention. Twitter then sells for money,
19   measurable in quantifiable units, its users’ information and attention to third
20   parties, including advertisers.
21            20.    Twitter is attractive to advertisers not just because of the sheer number
22   of Twitter users but because of the type and scope of information it collects about
23   its users. The more granular and intimate the details a platform like Twitter can
24   provide advertisers about its users, the more those advertisers are willing to use the
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      https://business.twitter.com/en/blog/why-should-your-business-use-
     twitter.html#:~:text=With%20186%20million%20average%20monetizable,%2C%20and%20movement%
27   2Dmaking%20audiences.
28   4
         https://www.bbc.com/news/business-24397472

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1    platform or pay Twitter.
2              21.    For example, Twitter can discern the interests of particular users by
3    observing the topics of tweets they interact with or accounts that they follow.
4    Marketers promoting products or services that cater to those interests can then
5    direct their advertisements to those users.
6              22.    Consumers’ phone numbers and email addresses are particularly
7    attractive to advertisers because it allows them to link the consumers’ information
8    to other databases and discern their real-world identities, e.g., where they live,
9    what other products or services they have purchased, and other information that the
10   consumer would ordinarily be reluctant to make available to unknown parties for
11   advertising purposes.
12             23.    Email addresses and phone numbers are often static and rarely change.
13   And while a person who uses multiple social media accounts may have different
14   user names or handles for each, phone numbers and email addresses remain the
15   same across platforms. Because of these characteristics, phone numbers and emails
16   can be used to identify people across platforms and to identify an individual
17   person, much in the same way a Social Security number can be used for that
18   purpose.
19             24.    Telephone numbers and email addresses are also valuable to
20   advertisers because they use the phone numbers as a data point in a process called
21   “enhancement.” 5 Once a marketer or data broker acquires a phone number it can
22   then pair that information with other information associated with the phone number
23   and generate individual consumer profiles. Those profiles can include details like
24   where the consumer lives, where they shop, who they interact with, and other
25   intimate details that the consumer would ordinarily decline to share with strangers.
26             25.    Armed with Personal Information, advertisers can compare their own
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         https://abcnews.go.com/Business/story?id=1402686

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1    database of information with that which Twitter provides in order to fine tune their
2    marketing and precisely target desirable individuals and demographics or even just
3    to maintain consumer profiles that they can later use or sell to others. The more
4    intimate and private details that Twitter can collect or induce its users to provide,
5    the more revenue it derives.
6          26.    Accordingly, Twitter is incentivized to collect specific, non-public
7    personally identifiable information that it, in turn, can offer to advertisers to target
8    individuals more precisely.
9          27.    From at least May 2013, Twitter began to induce consumers to
10   provide it with their telephone numbers and email addresses (i.e., the Personal
11   Information) by representing to them that the information would be used solely to
12   secure their accounts. Twitter represented to users that it required their telephone
13   numbers and email addresses as a form of two factor authentication (2FA). Two
14   factor authentication is a security practice that verifies the legitimacy of the first
15   form of identification (e.g., a password or PIN) by linking it to another form of
16   identification like a telephone number or email address specifically associated with
17   the individual user.
18         28.     Perversely, Twitter used the pretext of securing users’ privacy to
19   fraudulently induce them to provide non-public Personal Information that it would,
20   in turn, offer to advertisers without the knowledge and consent of the user. Twitter
21   misrepresented the purpose for which it collected users’ phone numbers and email
22   addresses.
23         29.    From at least May 2013 until at least September 2019, Twitter
24   misrepresented to users of its online communication service the extent to which it
25   maintained and protected the security and privacy of their nonpublic contact
26   information. While Twitter represented to users that it collected their telephone
27   numbers and email addresses solely to secure their accounts, Twitter failed to
28   disclose that it also used user Personal Information to aid advertisers in reaching

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1    their preferred audiences. In exchange, Twitter handsomely profited off its users’
2    Personal Information without their knowledge or consent.
3          30.    Twitter’s acts, omissions, and practices as alleged herein are unlawful,
4    unfair, and deceptive and violate California Law. Plaintiffs’ and Class Members
5    have been harmed and Twitter has been unjustly enriched at their expense.
6    Plaintiffs and Class Members seek restitution and disgorgement for Twitter’s
7    violations, as well as a permanent injunction and other equitable relief, to ensure
8    Twitter’s future compliance with the law.
9                            SUBSTANTIVE ALLEGATIONS
10         Defendant’s Business
11         31.    Twitter is ostensibly a social media company but its core business
12   model relies on monetizing its users’ information by using it for advertising
13   purposes. Twitter derives the vast majority of its revenue by collecting and
14   aggregating the personally identifiable information of its users and selling it to
15   advertisers who wish to reach a specific audience or demographic or bolster their
16   understanding of the consumer marketplace.
17         32.    In exchange for access to and use of the Twitter platform, users
18   surrender to Twitter their personal and sensitive information as well as their time
19   and attention. The Twitter platform by its nature is interactive and accretive.
20   Without users interacting with the platform by posting content, commenting on the
21   content of others, or promoting content, the platform would be of little to no
22   interest to consumers. Conversely, the more people that use Twitter create a
23   network effect that draws others to the platform who wish to stay informed of
24   trends or topics or simply interact with people they know or people, like
25   celebrities, with whom they otherwise would not have the same degrees of access.
26         33.    The same is true of advertisers. If the Twitter platform did not have
27   consistent and robust engagement, there would be little value to advertisers who
28   seek to capture consumer attention and redirect it towards their own brands or

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1    services. Accordingly, the greater number of active Twitter users, the greater value
2    advertisers derive from their use of the platform.
3          34.    Advertisers regularly use Twitter to promote products and services
4    and may tweet links to websites on which users may purchase products or services.
5          35.    Companies advertise on Twitter through a service Twitter calls
6    “Promoted Products,” which take one of three forms: (1) Promoted Tweets, which
7    appear within a user’s timeline, search results, or profile pages, similar to an
8    ordinary tweet; (2) Promoted Accounts, which typically appear in the same format
9    and place as other recommended accounts; and (3) Promoted Trends, which appear
10   at the top of the list of trending topics for the day.
11         36.    Twitter offers various services that advertisers can use to reach their
12   existing marketing lists on Twitter, including “Tailored Audiences” and “Partner
13   Audiences.” Tailored Audiences allows advertisers to target specific groups of
14   Twitter users by matching the telephone numbers and email addresses that Twitter
15   collects to the advertisers’ existing lists of telephone numbers and email addresses.
16   Partner Audiences allows advertisers to import marketing lists from data brokers
17   like Acxiom and Datalogix to match against the telephone numbers and email
18   addresses collected by Twitter. Twitter has provided advertisers the ability to
19   match against lists of email addresses since January 2014 and against lists of
20   telephone numbers since September 2014. Accordingly, Twitter derives monetary
21   value from these two types of data points.
22   Twitter misrepresented the purpose for which it collected and used Personal
23   Information
24         37.    Until at least September 17, 2019, Twitter prompted users to provide a
25   telephone number and/or email address for the express purpose of securing or
26   authenticating their Twitter accounts. However, unbeknownst to Twitter users, and
27   contrary to its own Terms of Service, Twitter also used this information to serve
28   targeted advertising and further its own business interests through its Tailored

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1    Audiences and Partner Audiences services.
2          38.    Between at least May 2013 until at least September 2019, Twitter
3    collected telephone numbers and email addresses from users specifically for
4    purposes of allowing users to enable two-factor authentication, to assist with
5    account recovery (e.g., to provide access to accounts when users have forgotten
6    their passwords), and to re-authenticate users (e.g., to re-enable full access to an
7    account after Twitter has detected suspicious or malicious activity). During that
8    time, and contrary to its Terms of Service, Twitter did not disclose, or did not
9    disclose adequately, that it used these telephone numbers and email addresses to
10   target advertisements to those users through its Tailored Audiences and Partner
11   Audiences services.
12         39.    Since May 2013, Twitter has encouraged users to log into Twitter with
13   two-factor authentication using their telephone numbers. Twitter encourages its
14   users to use 2FA as a security practice to detect unauthorized access to user
15   accounts. Users who enable 2FA log into their Twitter accounts with their
16   usernames, passwords, and a code texted to their telephone numbers whenever they
17   log in from a new or unrecognized device.
18         40.    Twitter regularly prompts users to enable two-factor authentication
19   through notices on their timelines and after users reset their passwords. Twitter
20   also encourages users to turn on two-factor authentication in tweets from Twitter-
21   operated accounts, Help Center documentation, and blog posts.
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1           41.     All of the notifications that Twitter promoted to users reference the
2    user’s need to provide their Personal Information only in the context of promoting
3    the integrity and security of their accounts. As Twitter’s Help Center instructed
4    users on October 7, 2018: 6
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17          42.     A post from Twitter’s website as it appeared on August 31, 2019
18   requires that users verify their email address and phone number as a condition of
19   using 2FA all the while stressing the importance of maintaining account security. 7
20   Notably, Twitter makes no mention that this information will be monetized or
21   shared with or used by parties unknown to the user. In fact, Twitter expressly
22   states, “[t]his requirement is in place for account recovery:”
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26   6
       https://web.archive.org/web/20181007203622/https://help.twitter.com/en/safety-and-security/account-
     security-tips
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     7
       https://web.archive.org/web/20190830122015/https://help.twitter.com/en/managing-your-account/two-
28   factor-authentication

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14           43.   To enable 2FA, Twitter users navigate to the “Security” tab of their
15   account settings page where they are displayed a screen similar to the one depicted
16   below:
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             44.   When users click on “Learn more,” they are directed to a webpage
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     titled, “How to use two-factor authentication.” The webpage states, in relevant
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     part:
26           Two-factor authentication is an extra layer of security for your Twitter
27           account. Instead of only entering a password to log in, you’ll also enter
             a code or use a security key. This additional step helps make sure that
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1          you, and only you, can access your account.
           45.   Users who then click on “Login Verification” will be presented
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     additional instructions about how to enable 2FA. The last screen that Twitter
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     presents to users as they set up 2FA using a telephone number is similar to the one
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     depicted below and, as above, makes no disclosures about using the information
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     for advertising purposes:
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18         46.   In or about 2018, Twitter began to more aggressively induce users to
19   enable 2FA by prompting them with posts on their timeline to ensure that they are
20   widely viewed by Twitter users:
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           47.   It was only on or about October 8, 2019, that Twitter disclosed to its
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1    users that it had been using the information they provided for 2FA to aid
2    advertisers in their marketing efforts while handsomely profiting in the process.
3           48.     On information and belief, from May 2013 to September 2019,
4    approximately two million Twitter users provided a telephone number to Twitter
5    for the purpose of enabling 2FA. Twitter did not disclose to these users that the
6    information would be used for any purpose aside from Twitter’s stated purpose of
7    promoting account security. Nor did Plaintiff and Class Members reasonably
8    expect, based on Twitter’s representations and Terms of Service, that Twitter
9    would use their non-public Personal Information for any purpose unrelated to
10   account security.
11          49.     In fact, if a user removed their phone number, Twitter would disable
12   the login verification feature entirely, further cementing in the user’s mind that
13   their phone numbers were being strictly used for security purposes: 8
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23          50.     The fact that Twitter used the telephone numbers provided for 2FA for
24   advertising would be material to users when deciding whether to provide a
25   telephone number for 2FA or to continue using Twitter at all.
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       https://arstechnica.com/information-technology/2019/10/twitter-used-phone-numbers-provided-for-2fa-
28   to-match-users-to-advertisers/?comments=1

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1          51.    In 2015 Twitter also began encouraging users to provide their phone
2    numbers to allow for recovery of forgotten passwords and began prompting users
3    who had not yet provided their telephone number for 2FA to do so for password
4    recovery purposes as reflected below:
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12         52.    In or about April of 2018, Twitter also began to prompt users to
13   associate an email address with their account, again representing that this would
14   allow users to recover their password in the event that they had forgotten it:
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21         53.    Through September 2019, Twitter did not disclose in any of the above
22   prompts it directed at users or at any point in the account recovery process that it
23   was using the telephone numbers or email addresses users provided for account
24   recovery to target advertisements to those users.
25         54.    On information and belief, from June 2015, approximately 37 million
26   users provided a telephone number or email address for account recovery purposes.
27         55.    The fact that Twitter used the telephone numbers and email addresses
28   provided by users to safeguard their accounts for advertising would be material to
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1    users when deciding whether to provide their information for account recovery
2    purposes or whether they wished to continue using Twitter at all.
3          56.    Twitter also required users to provide it with their telephone number
4    or email address for account re-authentication, which would enable them to access
5    accounts that Twitter locked due to suspicious activity it detected.
6          57.    Twitter will block access to user accounts and demand that the user
7    provide it with Personal Information before the account will be unlocked. When
8    Twitter detects suspicious activity on a user’s account, or suspects that the account
9    may belong to a banned user, Twitter will prompt the user to re-authenticate the
10   account by providing a telephone number or email address:
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22         58.    If users click “Start,” they are prompted to enter a telephone number:
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           59.    In the image below, the user is required to provide an email address to
12
     re-enable full access to their accounts, and as above, the prompt contains no
13
     mention that the information will be used for any purpose aside from verifying the
14
     user’s access credentials:
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24         60.    Throughout the relevant time period, Twitter did not disclose at any
25   point in the re-authentication process that it was using the telephone numbers or
26   email addresses users provided for re-authentication to target advertisements to
27   those users all the while handsomely profiting in the process. Moreover, no
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1    reasonable user of Twitter would suspect that providing information that Twitter
2    describes as necessary to authenticate an account would lead to that information
3    being made available to unknown third parties.
4              61.     On information and belief, approximately 104 million users provided
5    a telephone number or email address in response to a prompt for re-authentication.
6              62.     The fact that Twitter used the telephone numbers and email addresses
7    provided for re-authentication for advertising would be material to users when
8    deciding whether to provide their Personal Information in response to a prompt for
9    re-authentication or to use Twitter’s services at all.
10             Consumers guard their valuable non-public information
11             63.     Consumers value privacy and control over their non-public personal
12   information. In a survey of 1,000 American consumers, the average price at which
13   they would sell their telephone number to a data broker came to $580.30 while
14   approximately 11% said they would not sell it at all. 9
15             64.     To use Twitter’s platform, consumers agree to give up things of
16   material value: personal information and attention. Twitter then sells for money,
17   measurable in quantifiable units, its users’ information and attention to third
18   parties, including advertisers. Twitter makes no secret of this and categorizes
19   certain accounts which are active and verifiable as “monetizable” to encourage
20   businesses to advertise on its platform to those users. 10
21             65.     There is an active marketplace for non-public consumer date both on
22   the dark web 11 and for legitimate enterprises who act as data brokers like Experian
23   or Equifax. In 2019, the data brokering industry was worth roughly $200 billion. 12
24
25   9
         https://www.pcmag.com/news/would-you-sell-your-own-data-and-what-would-you-charge
     10
26        https://qz.com/1675900/twitter-is-finally-figuring-out-how-to-monetize-its-user-base/
     11
       https://www.experian.com/blogs/ask-experian/heres-how-much-your-personal-information-is-selling-
27   for-on-the-dark-web/
28   12
          https://www.latimes.com/business/story/2019-11-05/column-data-brokers

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1    In fact, the data marketplace is so sophisticated that consumers can actually sell
2    their non-public information directly to a data broker who in turn aggregates the
3    information and provides it to marketers or app developers. 1314 Consumers who
4    agree to provide their web browsing history to the Nielsen Corporation can receive
5    up to $50.00 a year. 15 Nielsen also pay for consumers attention by paying them to
6    monitor what programs they watch and for how long. 16
7              66.     While consumers understand that they may be exchanging certain of
8    their non-public, sensitive, and/or personally identifiable information use online
9    services, they do not agree to surrender all of their information as part of the
10   exchange. Email, phone numbers and other non-public information is particularly
11   guarded by consumers because that information can be used to identify them, to
12   solicit or spam them with commercial offers, or to gather further information on
13   them.
14             67.     Twitter itself recognizes that its users’ contact information is sensitive
15   and that consumers have an interest in keeping it confidential. For example, in the
16   “Privacy and Safety” section of user account settings, Twitter gives users the
17   option to prevent others from searching for user accounts by telephone number and
18   email, even where the other party already knows the telephone number and email
19   address. Clearly, by providing such an option under the “Privacy and Safety”
20   section, Twitter recognizes that consumers neither wish to share this information
21   with the public nor have it used to discover them. 17
22             68.     Additionally, consumers may simply be reluctant to part with more
23
24   13
          https://datacoup.com/
25   14
          https://digi.me/what-is-digime/
     15
26      Nielsen Computer & Mobile Panel, Frequently Asked Questions, available at
     https://computermobilepanel.nielsen.com/ui/US/en/faqen.html (last accessed Mar. 29, 2021).
27   16
          https://markets.nielsen.com/us/en/about-us/panels/ratings-and-families/
28   17
          https://help.twitter.com/en/safety-and-security/email-and-phone-discoverability-settings

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1    personal information than is necessary simply because they must trust another
2    entity to keep it safe in a time when data breaches and the theft of personally
3    identifiable information is at an all time high. The fewer entities that possess a
4    consumers’ information the smaller the surface of the risk vector from data
5    breaches to the consumer.
6              69.    Once a hacker acquires a specific email address they can use it to send
7    phishing emails, access online accounts (e.g., social media, banking), discern
8    further personal details like names and dates of birth, or even commit identity
9    theft. 18 Indeed, Twitter suffered a data breach from June 2021 to January 2022 in
10   which the attacker reportedly offered for sale the emails and phone numbers of 5.4
11   million Twitter users for approximately $30,000.19
12             70.     Similarly, an attacker who acquires a telephone number can use it to
13   commit a “Sim Swap” where they have the victims number ported to their own
14   device and then use that number to bypass 2FA that relies on texting or interacting
15   with the number. The attacker can then access bank accounts, social media
16   profiles, and other accounts to victimize a person. 20
17             71.     Additionally, a former Twitter employee was recently convicted of
18   providing a foreign government with the “email addresses, phone numbers and
19   other private data of people who had used Twitter to anonymously criticize Saudi
20   Arabia.” 21 This further underscores the sensitive nature of non-public contact
21   information that Twitter collects and why people may wish to keep it confidential.
22             72.     Because Twitter engaged in the deceptive conduct described above,
23   Plaintiff and Class Members suffered substantial, cognizable, and quantifiable
24
     18
          https://www.rd.com/list/what-hackers-can-do-with-email-address/
25   19
       https://www.ghacks.net/2022/08/08/twitter-confirms-that-a-data-breach-leaked-email-addresses-and-
26   phone-numbers-of-users/
     20
          https://www.nerdwallet.com/article/finance/sim-swap-criminals-really-number
27
     21
       https://www.forbes.com/sites/joewalsh/2022/08/09/ex-twitter-employee-convicted-of-sending-private-
28   data-to-saudi-government/?sh=14770382d062

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1    economic harm.
2              Twitter knew that it had a duty to disclose to its users the true purpose for
3    which it collected Personal Information.
4              73.     At all relevant times described herein, Twitter was on notice and
5    aware that it had a duty to adequately disclose to its users the true scope of purpose
6    for which it collected their Personal Information.
7              74.     In 2011, Twitter and the FTC entered into a consent order in response
8    to Twitter’s alleged violations of Section 5(a) of the FTC Act for misrepresenting
9    the extent to which it protected consumers’ privacy (the “Order”). 22 Specifically,
10   the Order prohibited Twitter using “any telephone number or email address
11   obtained from a [u]ser before the effective date of this Order for the purpose of
12   enabling an account security feature.” While the Order did not prohibit Twitter
13   from doing so in the future, it would first have to comply with notice, disclosure,
14   and consent requirements of the Order.
15             75.     The Order prohibits Twitter from misrepresenting “the extent to which
16   [Twitter] maintains and protects the security, privacy, confidentiality, or integrity
17   of any nonpublic consumer information, including, but not limited to,
18   misrepresentations related to its security measures to: (a) prevent unauthorized
19   access to nonpublic consumer information; or (b) honor the privacy choices
20   exercised by users.”
21             76.     Twitter violated the FTC Order, an order that is facially designed to
22   benefit Plaintiffs and Members of the Class and to protect them from the very harm
23   that Twitter would inflict on them. Notably, in all of the examples shown herein,
24   Twitter makes no disclosures that would allow a reasonable consumer to
25   understand that, in addition to providing their Personal Information for account
26   security purposes, they were also providing it for Twitter’s monetary benefit.
27
28   22
          See In re Twitter, Inc., C-4316, 151 F.T.C. 162 (Mar. 11, 2011) (Decision and Order)

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1    Twitter allowed unauthorized access to and use of this information in violation of
2    the Order and its own representations to its users. Consumers were deprived of the
3    ability to make their own decisions regarding how their information would be used
4    as a result of the misleading, unfair, and deceptive practices described above.
5           77.     Irrespective of Twitter’s duty to comply with the Order, Twitter
6    represented, directly or indirectly, expressly or by implication, that it would
7    maintain and protect the privacy of users’ telephone numbers and email addresses
8    that it collected to secure users’ Twitter accounts. Twitter knew that its users’
9    closely guarded the confidentiality of their Personal Information and that they
10   reasonably believed and understood that Twitter would maintain its confidentiality.
11   Nevertheless, Twitter used that information for its own pecuniary gain breaching
12   its agreements with Plaintiffs and Class Members.
13          Twitter’s Privacy Policy during the relevant time period
14          78.     As a condition of using Twitter’s services, users are required to agree
15   to Twitter’s Terms of Service and its Privacy Policy. The Privacy Policy in effect
16   at the time Plaintiffs provided their Personal Information, warrants that: 23
17          We believe you should always know what data we collect from you and
            how we use it, and that you should have meaningful control over both.
18          We want to empower you to make the best decisions about the
19          information that you share with us.
            79.     Twitter violated this warranty to users by failing to adequately
20
     disclose to them, when it prompted them to input their email addresses and phone
21
     numbers for account security purposes, that Twitter would also provide that
22
     information to advertisers to more effectively target those users with ads. Twitter
23
     also misrepresented to consumers that they would have “meaningful control” over
24
     how their data is collected and used. For example, in Section 1.6 of the Privacy
25
     Policy, Twitter explains how users can control which information they share
26
27
     23
        https://web.archive.org/web/20180526083315/https://twitter.com/en/privacy (Twitter’s Privacy Policy
28   as it appeared on May 26, 2018) (herein “Privacy Policy”)

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1    through the “Privacy and safety settings” section of their account:
2          80.    Notably absent from the categories of information that Twitter
3    represents that its users may control is the use of their Personal Information by
4    third party advertisers:
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16         81.    In fact, the only mention by Twitter of the use of contact information
17   for marketing purposes is the vague statement in Section 1.3 that “Twitter also uses
18   your contact information to market to you as your country’s laws allow.” This
19   disclosure does not adequately inform users that third party advertisers and not just
20   Twitter may use this information to advertise to the user, nor does it “empower”
21   them to make informed decisions over how their Personal Information is used or
22   even understand the scope of how their information will be used “as [their]
23   country’s laws allow.”
24         82.    In Section 3.1 of the Privacy Policy, Twitter represents that “you can
25   control whether Twitter shares your personal data in this way by using the “Share
26   your data with Twitter’s business partners option in your Personalization and Data
27   settings. in your Personalization and Data settings.” Notably, the language
28   represents to users that they could affirmatively opt-in, rather than opt-out, of
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1    sharing their Personal Information by using the “Share your data with Twitter’s
2    business partners option.” And in the same section of the Privacy Policy, Twitter
3    further represents that
4           The information we share with these partners does not include your
            name, email address, phone number, or Twitter username, but some
5           of these partnerships allow the information we share to be linked to
6           other personal information if the partner gets your consent first.
           83.    Twitter violated the express provisions of its Privacy Policy by
7
     misrepresenting that email addresses and phone numbers of its users would not be
8
     shared with its marketing affiliates and by expressly representing to its users that
9
     they must affirmatively consent to sharing their Personal Information before
10
     Twitter would share it with their marketing affiliates.
11
           84.    By misrepresenting the purpose for which it collected the Personal
12
     Information in security prompts and representing that “The information we share
13
     with these partners does not include your name, email address, phone
14
     number…[unless]…the partner gets your consent first” Twitter’s use of users
15
     Personal Information for advertising purposes was not in conformity with Section
16
     1.3 of the Privacy Policy and was expressly disallowed by Section 5 of FTC Act
17
     and FTC Order that required Twitter to “(a) prevent unauthorized access to
18
     nonpublic consumer information; or (b) honor the privacy choices exercised by
19
     users.”
20
           85.    In addition to violating Section 5 of the FTC Act and the FTC Order,
21
     Twitter violated California law by failing to adhere to its Privacy Policy. Cal. Bus.
22
     & Prof. Code § 22576 states, in relevant part, that an “operator of a commercial
23
     Web site or online service that collects personally identifiable information through
24
     the Web site or online service from individual consumers who use or visit the
25
     commercial Web site or online service” is prohibited from “knowingly and
26
     willfully [or] negligently and materially” failing to adhere to its published Privacy
27
     Policy.
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1                              STATUTE OF LIMITATIONS
2          86.    Plaintiffs did not discover the existence of the acts complained of and
3    alleged herein until, at the earliest, October 8, 2019 when Twitter publicly
4    disclosed that it used its users Personal Information for advertising purposes. Nor
5    could Plaintiffs or Class Members have discovered, through the exercise of
6    reasonable diligence, the existence of the deceptive acts alleged herein until, at the
7    earliest, October 8, 2019. Twitter alone possessed exclusive knowledge that it was
8    using Personal Information entrusted to it outside the scope for which it was
9    provided and concealed that fact from discovery until October of 2019.
10                           CLASS ACTION ALLEGATIONS
11         87.    Plaintiffs bring this nationwide class action pursuant to Rule 23(b)(2),
12   23(b)(3), and 23(c)(4) of the Federal Rules of Civil Procedure, on behalf of
13   themselves and on behalf of all members of the following class:
14         All individuals who provided their email address or telephone number
15         to Twitter for the purpose of accessing or verifying their Twitter
           accounts Between May 2013 and September 17, 2019 (the “Class”).
16
           88.    Excluded from the Class are the following individuals and/or entities:
17
     Defendant and its parents, subsidiaries, affiliates, officers and directors, current or
18
     former employees, and any entity in which Defendant has a controlling interest; all
19
     individuals who make a timely election to be excluded from this proceeding using
20
     the correct protocol for opting out; any and all federal, state or local governments,
21
     including but not limited to their departments, agencies, divisions, bureaus, boards,
22
     sections, groups, counsels and/or subdivisions; and all judges assigned to hear any
23
     aspect of this litigation, as well as their immediate family members.
24
           89.    Plaintiff reserves the right to modify or amend the definitions of the
25
     proposed Class before the Court determines whether certification is appropriate.
26
           90.    Numerosity: The Class are so numerous that joinder of all members is
27
     impracticable. Defendant collected the information of millions of its users under the
28

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1    same , and the Classes are apparently identifiable within Defendants’ records.
2          91.    Commonality: Questions of law and fact common to the Classes exist
3    and predominate over any questions affecting only individual Class Members. These
4    include:
5          a.     Whether Defendant misrepresented to consumers the purpose for
6    which it collected and used their Personal Information;
7          b.     Whether Defendant owed a duty to the Class to disclose the purpose
8    for which it obtained and used their Personal Information;
9          c.     Whether Defendant breached that duty;
10         d.     Whether Defendant was unjustly enriched at the expense of the Class.
11         e.     Whether Defendant’s conduct violated Section 5(a) of the Federal
12   Trade Commission Act, 15 U.S.C. § 45(a);
13         f.     Whether Defendant violated the 2011 FTC Order;
14         g.     Whether and how Defendant utilized Personal Information with
15   respect to third parties;
16         h.     Whether Defendant adequately disclosed its data collection practices
17   with respect to Personal Information;
18         i.     Whether Defendant caused Plaintiffs’ and Class Members’ injuries;
19         j.     Whether Defendant violated the unfair, unlawful, and/or fraudulent
20   prongs of the UCL;
21         k.     Whether Plaintiff and the other Class Members are entitled to
22   equitable and injunctive relief;
23         92.    Typicality: Plaintiffs’ claims are typical of those of other Class
24   Members because all received the same or substantially the same representations
25   from Defendant and disclosed their Personal Information as a result.
26         93.    Adequacy: Plaintiffs will fairly and adequately represent and protect
27   the interests of the Class Members. Plaintiffs’ counsel are competent and
28   experienced in litigating privacy-related class actions.

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1          94.    Superiority and Manageability: Under Rule 23(b)(3), a class action
2    is superior to other available methods for the fair and efficient adjudication of this
3    controversy since joinder of all the members of the Classes is impracticable.
4    Individual damages for any individual Class Members are likely to be insufficient
5    to justify the cost of individual litigation, so that in the absence of class treatment,
6    Defendants’ misconduct would go unpunished. Furthermore, the adjudication of
7    this controversy through a class action will avoid the possibility of inconsistent and
8    potentially conflicting adjudication of the asserted claims. There will be no
9    difficulty in the management of this action as a class action.
10         95.    Class certification is also appropriate under Fed. R. Civ. P. 23(a) and
11   (b)(2) because Defendant has acted or refused to act on grounds generally
12   applicable to the Class, so that final injunctive relief or corresponding declaratory
13   relief is appropriate as to the Class as a whole.
14         96.    Likewise, particular issues under Rule 23(c)(4) are appropriate for
15   certification because such claims present only particular, common issues, the
16   resolution of which would advance the disposition of this matter and the parties’
17   interests therein. Such particular issues include, but are not limited to:
18         a.     Whether Defendant owed a duty to Plaintiffs and Class Members to
19   adequately disclose the purpose for and its use of their Personal Information;
20         b.     Whether Defendant breached a duty to Plaintiffs and the Class
21   Members to keep their Personal Information confidential;
22         c.     Whether Defendant failed to comply with its own policies and
23   applicable laws, regulations, and industry standards relating to its collection of
24   Personal Information;
25         d.     Whether and how Defendant used the Personal Information of
26   Plaintiffs and Class Members with respect to third parties; and
27         e.     Whether Class Members are entitled to restitution, disgorgement,
28   and/or other injunctive relief as a result of Defendant’s wrongful conduct.

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1                                         COUNT I
2                      Violation of California’s Unfair Competition Law
3                              Cal. Bus. & Prof. Code § 17200
4                           (On Behalf of Plaintiffs and the Class)
5          97.    Plaintiffs re-allege and incorporate by reference the allegations
6    contained in the preceding paragraphs.
7          98.    By reason of the conduct alleged herein, Defendant engaged in
8    unlawful “business practices” within the meaning of the UCL.
9          99.    Defendant misrepresented and omitted material information regarding
10   the purpose for which it collected and used Plaintiffs’ and Class Members’ email
11   addresses and phone numbers.
12         100. Plaintiffs and Class Members were entitled to assume and did assume
13   that Defendant would use the personal contact information that they provided to
14   Twitter only for the purposes of securing and recovering their accounts.
15         101. Defendant did not disclose to Plaintiff and Class Members that the
16   Personal Information that they provided in response to Twitter’s representations
17   regarding login verification and account security would be disclosed to unknown
18   third parties or used for advertising purposes.
19         102. Defendant violated the unlawful prong of the UCL because
20   Defendant’s acts, omissions, and misrepresentations as alleged herein were
21   unlawful and in violation of Section 5(a) of the Federal Trade Commission Act, 15
22   U.S.C. § 45(a).
23         103. Section 5(a) of the Federal Trade Commission Act (FTC Act) (15
24   USC §45) prohibits “unfair or deceptive acts or practices in or affecting
25   commerce.” The FTC Act prohibits acts or practices that cause or are likely to
26   cause substantial injury to consumers, that cannot be reasonably avoided by
27   consumers, and are not outweighed by the countervailing benefits to consumers or
28   the marketplace. The FTC Act also prohibits material representations, omissions,

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1    or practices that are likely to mislead reasonable consumers. This prohibition
2    applies to all persons engaged in commerce, including Defendant.
3          104. Plaintiff and Class Members are consumers within the meaning of the
4    FTC Act and Plaintiff and the Class are within the class of persons that the FTC
5    Act was intended to protect. The harm that occurred as alleged herein is the type of
6    harm that the FTC Act was intended to guard against.
7          105. Twitter’s failure to disclose or disclose adequately its reasons for
8    collecting the Personal Information of Plaintiff and Class Members, is an unfair
9    and deceptive act or practice in violation of Section 5(a) of the FTC Act, 15 U.S.C.
10   § 45(a).
11         106. Moreover, Twitter’s violation of the 2011 Order is a violation of the
12   unlawful prong of the UCL. The Order prohibited Twitter from engaging in the
13   exact conduct as alleged herein and was intended and implemented for the benefit
14   of Twitter’s users and the consumer marketplace. The Order specifically required
15   that Twitter disclose the purpose for which it collected email addresses and phone
16   number and to respect the privacy choices of its users. Twitter disregarded the
17   Order to the detriment of Plaintiffs and the Class.
18         107. Additionally, Twitter violated the unlawful prong of the UCL by
19   violating Cal. Bus. & Prof. Code § 22576, which prohibits Twitter from
20   knowingly, negligently, and materially failing to adhere to its published Privacy
21   Policy. Twitter’s Privacy Policy represented that its users would have control over
22   their privacy choices, must affirmatively opt-in to share that information and that
23   email addresses and phone numbers would not be shared with third party
24   advertisers unless “the partner gets your consent first.”
25         108. The UCL also prohibits any “fraudulent business act or practice.”
26   Defendant’s above-described misrepresentations, nondisclosures and misleading
27   statements were false, misleading, and likely to deceive the consuming public in
28   violation of the UCL.

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1          109. Plaintiffs and members of the Class read and reasonably relied on
2    Defendant’s representations concerning account security and considered those
3    representations material in deciding whether or not to provide their Personal
4    Information or to continue to transact with Defendant. Plaintiff and members of the
5    Class similarly relied on Defendant to disclose any issues that contravened their
6    express representations when deciding whether or not to transact with Defendant.
7    Defendant misrepresented the purpose for which it collected Personal Information
8    and omitted from disclosure the true scope of its use of Personal Information.
9          110. The UCL further prohibits unfair acts and practices. Defendant
10   engaged in unfair acts and practices with respect to the collection of Personal
11   Information by failing to fully disclose that it would also use the information for
12   advertising purposes and its own pecuniary benefit. Twitter had within its
13   exclusive knowledge and did not disclose to users that it had monetized their
14   Personal Information for its own gain and at their expense. This information was
15   not available to Plaintiffs, Class Members, or the public at large.
16         111. Due to Defendant’s affirmative misrepresentations and material
17   omissions the injury suffered by consumers was not reasonably avoidable through
18   ordinary investigation. These unfair acts and practices were immoral, unethical,
19   oppressive, unscrupulous, unconscionable, and/or substantially injurious to
20   Plaintiff and Class Members. They were likely to deceive the public into believing
21   their Personal Information was securely stored, when it was not. The harm these
22   practices caused to Plaintiff and Class Members outweighed their utility, if any.
23         112. As a result of Defendant’s material misrepresentations and omissions
24   which were intended to and did induce Plaintiff and Class Members to surrender
25   their Personal Information to Defendant, Plaintiff and Class Members were harmed
26   and suffered an economic loss. Plaintiff and Class Members lost money and
27   property as a result of Defendant’s inducements in that they provided valuable,
28   non-public and sensitive contact information and their time and attention to

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1    Twitter. This is information and attention for which there is an active and viable
2    marketplace, and the data has a quantifiable value. Plaintiffs have also suffered
3    harm in the form of diminution of the value of their non-public and sensitive
4    personally identifiable data.
5          113. As a result of Defendant’s unlawful, unfair, and fraudulent business
6    practices, Plaintiffs and lass Members are entitled to injunctive relief including
7    restitution and all other remedies allowed by law.
8                                         COUNT II
9                         BREACH OF EXPRESS CONTRACT
10                         (On Behalf of Plaintiffs and the Class)
11         114. Plaintiffs re-allege and incorporate by reference the allegations
12   contained in the preceding paragraphs.
13         115. As a condition of using the Twitter platform, Plaintiffs and Class
14   Members were required to and did consent to Twitter’s Terms of Service,
15   including its Privacy Policy.
16         116. In exchange for access, Twitter users consented to and allowed
17   Twitter to collect and use certain of their non-public sensitive information for
18   advertising purposes. Twitter’s Privacy Policy expressly promised users that
19   certain other information, like the Personal Information of Plaintiffs and Class
20   Members at issue herein, would not be disclosed to third parties unless and until
21   user’s affirmatively consented to the disclosure.
22         117. In consideration for the use of Twitter’s platform, Twitter users also
23   provided their Personal Information and their time and attention. As described
24   above, without users time and attention, Twitter could not monetize these users and
25   promote its number of active users to advertisers to induce them to spend money
26   on the Twitter platform.
27         118. Twitter warranted in the Privacy Policy that users would be informed
28   as to how their data is collected and used and that users would be empowered to

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1    make informed decisions as to what information they chose to share with Twitter.
2    Twitter violated this provision of its contracts with users by failing to disclose in
3    its security prompts that the email addresses and phone numbers users provided for
4    account security would also be used for third party advertising purposes.
5          119. Plaintiffs and Class Members fully performed their material
6    obligations under their contracts with Twitter. Twitter breached its contractual
7    duties to Plaintiff and Members of the Class by failing to adequately disclose the
8    purpose for which it collected and used their Personal Information, failing to
9    adhere to their promise that User’s must affirmatively consent to share their
10   Personal Information with third-party advertisers, and failing to give users
11   meaningful choice or allow them to make informed decisions as to what
12   information they chose to share and with whom.
13         120. Additionally, Twitter failed to comply with its promise that Personal
14   Information would only be used in conformity with U.S. law by violating the FTC
15   Act and FTC Order.
16         121. As a direct and proximate result of Twitter’s breach of contract,
17   Plaintiffs and Class Members surrendered their time and attention and their
18   Personal Information to Twitter and did not receive the level of service that they
19   were promised. Twitter users were deprived of the benefit of the bargain that they
20   struck with Twitter and the Personal information that they provided to Twitter
21   suffered a diminution in value as a result of being shared with third parties without
22   their consent or knowledge.
23         122. As a direct and proximate result of Defendants’ breach of contract,
24   Plaintiffs are entitled to and demand actual, consequential, and nominal damages
25   and injunctive relief, to be determined at trial.
26                                        COUNT III
27                                 UNJUST ENRICHMENT
28                         (On Behalf of Plaintiffs and the Class)

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1          123. Plaintiffs re-allege and incorporate by reference the allegations
2    contained in the preceding paragraphs.
3          124. Plaintiffs allege this Count in the alternative to Count II above.
4          125. Throughout the relevant time period and continuing to today,
5    Twitter’s business model has entirely depended upon its collection and
6    monetization of its users’ sensitive personal information. Users agree to surrender
7    certain of this information, in addition to their time and attention, to Twitter for the
8    purpose of allowing them the use of its service. As part of that transaction, there is
9    a mutual understanding that Twitter will keep certain other information entrusted
10   to it (i.e., telephone numbers and email addresses) private, unless authorized by the
11   user. Unbeknownst to Plaintiffs and Class Members, however, Twitter did not
12   secure, safeguard, or protect its users Personal Information and instead offered it to
13   be used by others for its own profit. Twitter’s use of its users’ Personal Information
14   for advertising purposes was contrary to its messaging that the information was
15   required for security purposes.
16         126. Plaintiffs and Class Members received services from Twitter, and
17   Twitter was provided with, and allowed to collect and store, their Personal
18   Information on the mutual understanding that Twitter would use that information
19   to help them secure their accounts and not to assist advertisers in reaching them.
20   Twitter instead willfully and intentional designed its system to provide advertisers
21   with the very information it represented, impliedly or otherwise, that it would use
22   only for their users’ benefit.
23         127. Twitter designed and implemented the security features concerning
24   login verification and 2FA and similarly designed and implemented the system on
25   which advertisers paid for and received user data. Twitter knew or should have
26   known that the manner in which it designed this system allowed advertisers access
27   to information that should have been segmented and kept confidential.
28         128. Accordingly, Twitter knew that the manner in which they designed

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1    their systems and maintained confidential user information violated their duties to
2    Plaintiffs and Class Members.
3          129. Twitter also knew that type of information at issue herein was
4    precisely the type of information that its users would wish to remain confidential.
5          130. Twitter had within its exclusive knowledge and did not disclose to
6    users that it had monetized their Personal Information for its own gain and at their
7    expense. This information was not available to Plaintiffs, Class Members, or the
8    public at large.
9          131. Twitter also knew that was required to adhere to the FTC Order and
10   that it must allow users to control or consent to its use of their Personal
11   Information.
12         132. Plaintiffs and Class Members did not know or expect that Twitter was
13   collecting their Personal Information and using it for advertising purposes. Had
14   Plaintiff and Class Members known that Twitter would share the information that
15   they provided to it with advertisers for the purpose of directing marketing efforts
16   towards them, Plaintiff and Class Members would not have shared the information
17   with Twitter or would not have continued to use Twitter at all.
18         133. By using Plaintiffs’ and Class members Personal Information for its
19   own profit and in a manner inconsistent with its representations concerning
20   account security, Twitter put its own interests ahead of the very users who placed
21   their trust and confidence in Twitter and benefitted it to the detriment of Plaintiffs
22   and Class Members.
23         134. As a result of its conduct as alleged herein, Twitter increased its
24   advertising revenues and increased the number of its monetizable users to allow it
25   to derive more advertising revenue than it otherwise would have. Twitter was
26   unjustly enriched by collecting Plaintiffs’ and Class Members’ Personal
27   Information under false pretenses to the detriment of Plaintiffs and Class Members.
28         135. It would be inequitable, unfair, and unjust for Twitter to retain these

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1    wrongfully obtained revenues at the expense of Plaintiffs and the Class. Twitter’s
2    retention of wrongfully obtained monies would violate fundamental principles of
3    justice, equity, and good conscience.
4          136. Twitter’s unfair and deceptive conduct to not disclose the way that it
5    used their Personal Information caused, among other things, Plaintiffs and Class
6    Members to surrender valuable information without remuneration.
7          137. As a result, Plaintiffs and Class Members paid for services that they
8    would not have paid for had Defendant disclosed how it actually used their
9    Personal Information.
10         138. Plaintiffs and each Member of the Class are entitled to restitution and
11   non-restitutionary disgorgement in the amount by which Twitter was unjustly
12   enriched, to be determined at trial.
13                                 PRAYER FOR RELIEF
14         WHEREFORE, Plaintiffs, individually and on behalf of all of the members
15   of the Class, respectfully request that the Court enter judgment in their favor and
16   against Defendants as follows:
17         A.     For an Order certifying the Class as defined herein and appointing
18   Plaintiffs and their Counsel to represent the Class;
19         B.     For equitable relief enjoining Defendant from engaging in the
20   wrongful conduct complained of herein pertaining to the misuse of Plaintiff’s and
21   Class Members’ Personal Information;
22         C.     For injunctive relief requested by Plaintiff, including but not limited
23   to, injunctive and other equitable relief as is necessary to protect the interests of
24   Plaintiff and Class Members, including but not limited to an order requiring
25   Defendant to disclose to each Class Member whether and how their Personal
26   Information was used, requiring Defendant to refrain from misleading and
27   deceptive representations concerning data collection, and requiring Defendant to
28   periodically certify their compliance with privacy standards;

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1          D.     For restitution and disgorgement of the revenues wrongfully obtained
2    as a result of Defendant’s wrongful conduct, in an amount to be determined at trial;
3          E.     For an award of costs of suit, litigation expenses and attorneys’ fees,
4    as allowable by law; and
5          F.     For such other and further relief as this Court may deem just and
6    proper.
7                               DEMAND FOR JURY TRIAL
8          Plaintiff, on behalf of himself and all others similarly situated, hereby
9    demands a jury trial for all claims so triable.
10   Dated: August 18, 2022                  /s/ John J. Nelson
11                                            John J. Nelson (SBN 317598)
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25                                            Counsel for Plaintiffs and the Putative
26                                            Class

27                                            * Pro Hac Vice Admission To Be Submitted

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